           Case: 24-1243     Document: 16      Page: 1   Filed: 01/10/2024




                               Nos. 24-1243, 24-1244

                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT
                                 ________________

        THE TRUSTEES OF COLUMBIA UNIVERSITY IN THE CITY OF NEW YORK,
                                                     Plaintiff-Appellee,
                                          v.

      GEN DIGITAL INC., fka Symantec Corporation, fka NortonLifeLock, Inc.,
                                                     Defendant-Appellant,

                                QUINN EMANUEL LLP,
                                                  Sanctioned Party-Appellant
                                 ________________

  Appeals from the United States District Court for the Eastern District of Virginia
              in No. 3:13-cv-00808-MHL, Judge M. Hannah Lauck.
                               ________________

        UNOPPOSED MOTION BY APPELLANT QUINN EMANUEL
       FOR AN EXTENSION OF TIME TO FILE ITS OPENING BRIEF
                        ________________

      Appellant Quinn Emanuel Urquhart & Sullivan, LLP (“Quinn Emanuel”)

respectfully requests that the time for filing its opening brief on appeal, currently

due February 6, 2024, be extended 59 days, to April 5, 2024. Fed. R. App. P. 26(b);

Fed. Cir. R. 26(b). This motion is Quinn Emanuel’s first extension request for its

opening brief and is timely filed at least seven days before that brief is due.

Appellant Gen Digital Inc. (“Gen Digital”) and Appellee Trustees of Columbia
            Case: 24-1243    Document: 16     Page: 2    Filed: 01/10/2024




University in the City of New York do not oppose this motion and do not intend to

file a response.

      On December 22, 2023, Gen Digital filed an unopposed motion to extend the

deadline for its opening brief on appeal in No. 24-1243 to April 5, 2024. Dkt.6. On

December 28, 2023, this Court consolidated Gen Digital’s appeal in No. 24-1243

with Quinn Emanuel’s appeal in No. 24-1244. Dkt.13. Later that day, the Court

granted Gen Digital’s unopposed motion for an extension of time for its opening

brief. But because that motion was filed before the appeals were consolidated, that

extension did not automatically apply to the deadline for Quinn Emanuel’s opening

brief, necessitating this separate motion. Dkt.15.

      Good cause exists for the requested extension, as aligning the deadline for

Quinn Emanuel’s opening brief on appeal with the deadline for Gen Digital’s

opening brief on appeal will serve judicial efficiency by ensuring an orderly briefing

process for these consolidated appeals. In addition, Quinn Emanuel’s lead counsel

has a number of other professional obligations in the coming weeks, as reflected the

attached declaration. Quinn Emanuel therefore respectfully requests that the Court

grant its unopposed motion for an extension and extend the deadline for Quinn

Emanuel’s opening brief by 59 days to April 5, 2024.




                                          2
          Case: 24-1243   Document: 16   Page: 3      Filed: 01/10/2024




                                         s/Paul D. Clement
                                         PAUL D. CLEMENT
                                          Counsel of Record
                                         C. HARKER RHODES IV*
                                         JOSEPH J. DEMOTT
                                         706 Duke Street
                                         Alexandria, VA 22314
                                         (202) 742-8900
                                         paul.clement@clementmurphy.com
                                         *Supervised by principals of the firm who are members
                                         of the Virginia Bar

         Counsel for Appellant Quinn Emanuel Urquhart & Sullivan, LLP
January 10, 2024




                                     3
            Case: 24-1243    Document: 16        Page: 4   Filed: 01/10/2024




                                No. 24-1243, 24-1244

                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT
                                 ________________

          THE TRUSTEES OF COLUMBIA UNIVERSITY IN THE CITY OF NEW YORK,
                                                       Plaintiff-Appellee,
                                            v.

      GEN DIGITAL INC., fka Symantec Corporation, fka NortonLifeLock, Inc.,
                                                       Defendant-Appellant,

                                QUINN EMANUEL LLP,
                                                  Sanctioned Party-Appellant
                                 ________________

  Appeals from the United States District Court for the Eastern District of Virginia
              in No. 3:13-cv-00808-MHL, Judge M. Hannah Lauck.
                               ________________

                DECLARATION OF PAUL D. CLEMENT
       IN SUPPORT OF QUINN EMANUEL’S UNOPPOSED MOTION
       FOR AN EXTENSION OF TIME TO FILE ITS OPENING BRIEF
                         ________________

      I, Paul D. Clement, hereby declare:

      1.      I am a partner in the law firm Clement & Murphy, PLLC and lead

counsel for Quinn Emanuel Urquhart & Sullivan, LLP (“Quinn Emanuel”) in this

appeal.

      2.      I make this declaration in support of Quinn Emanuel’s unopposed

motion for an extension of time to file its opening brief on appeal.
           Case: 24-1243      Document: 16     Page: 5   Filed: 01/10/2024




      3.       Quinn Emanuel’s opening brief on appeal is currently due February 6,

2024. With the requested extension, the brief will be due April 5, 2024.

      4.       Good cause exists for the requested extension because, in the coming

weeks, I have multiple briefing deadlines, oral arguments, and other professional

obligations.

      5.       I have conferred with counsel for Appellant Gen Digital Inc. and

Appellee Trustees of Columbia University in the City of New York, and am informed

that neither party opposes this motion or intends to file a response.

      I declare under penalty of perjury under 28 U.S.C. §1746 that the foregoing is

true and correct.

Executed on: January 10, 2024
                                              /s/Paul D. Clement
                                              Paul D. Clement
                                              Counsel for Appellant Quinn Emanuel
                                              Urquhart & Sullivan, LLP




                                          2
               Case: 24-1243        Document: 16    Page: 6   Filed: 01/10/2024



FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                   March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 24-1243, 24-1244
   Short Case Caption Trustees of Columbia University v. Gen Digital Inc.
   Filing Party/Entity Quinn Emanuel Urquhart & Sullivan, LLP



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        01/10/2024
  Date: _________________                   Signature:    s/Paul D. Clement

                                            Name:         Paul D. Clement
               Case: 24-1243          Document: 16      Page: 7       Filed: 01/10/2024



FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                           March 2023


     1. Represented                       2. Real Party in             3. Parent Corporations
         Entities.                            Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of        Provide the full names of
 all entities represented by          all real parties in interest     all parent corporations for
 undersigned counsel in               for the entities. Do not list    the entities and all
 this case.                           the real parties if they are     publicly held companies
                                      the same as the entities.        that own 10% or more
                                                                       stock in the entities.

                                      ‫܆‬
                                      ✔ None/Not Applicable            ‫܆‬
                                                                       ✔ None/Not Applicable



Quinn Emanuel Urquhart &
Sullivan, LLP




                                  ‫܆‬      Additional pages attached
               Case: 24-1243      Document: 16    Page: 8      Filed: 01/10/2024



FORM 9. Certificate of Interest                                                    Form 9 (p. 3)
                                                                                    March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ‫܆‬        None/Not Applicable                 ‫܆‬    Additional pages attached
Christopher Michel                Quinn Emanuel Urquhart &
                                  Sullivan, LLP




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 ‫ ܆‬Yes (file separate notice; see below) ‫ ܆‬No
  ✔
                                                             ‫ ܆‬N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ‫܆‬
 ✔        None/Not Applicable                 ‫܆‬    Additional pages attached
           Case: 24-1243     Document: 16    Page: 9    Filed: 01/10/2024




                      CERTIFICATE OF COMPLIANCE

      Pursuant to Federal Rule of Appellate Procedure 32(g)(1), I hereby certify that

the foregoing document complies with the type-volume limitations in Federal Rule

of Appellate Procedure 27(d)(2)(A). According to the word count feature of

Microsoft Word, the motion contains 292 words, excluding the exempted parts under

Federal Rule of Appellate Procedure 32(f). The document has been prepared in a

proportionally spaced typeface using Times New Roman in 14-point size.


January 10, 2024

                                             s/Paul D. Clement
                                             Paul D. Clement
          Case: 24-1243     Document: 16     Page: 10    Filed: 01/10/2024




                          CERTIFICATE OF SERVICE

      I hereby certify that on January 10, 2024, I electronically filed the foregoing

with the Clerk of the Court for the United States Court of Appeals for the Federal

Circuit by using the CM/ECF system. I certify that all participants in this case are

registered CM/ECF users and that service will be accomplished by the CM/ECF

system.

                                                    s/Paul D. Clement
                                                    Paul D. Clement
